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 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JESUS VAZQUEZ
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )
11                                      ) NO. CR.S-04-280-FCD
                       Plaintiff,       )
12                                      )
          v.                            )
13                                      )       STIPULATION AND ORDER;
                                        )          EXCLUSION OF TIME
14                                      )
     JESUS VAZQUEZ, et al.,             )
15                                      ) Date: June 13, 2005
                    Defendant.            Time: 9:30 a.m.
16   _____________________________        Judge: Hon. Frank C. Damrell

17        IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, WILLIAM WONG, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

20   Defender, SHARI    RUSK, ESQ, MICHAEL E. HANSEN, ESQ., attorneys for all

21   Defendants, that the status conference hearing date of May 31, 2005

22   shall be vacated and a status conference scheduled for June 13, 2005 at

23   9:30 a.m.

24        This continuance is requested as defense counsel needs additional

25   time to review discovery with the defendant, to examine possible

26   defenses and to continue investigating the facts of the case. Also, Mr.

27   Reichel will be out of town for training the week on the 31st. and Ms.

28   Rusk is due to deliver a baby the same week.
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 1          Accordingly, all counsel and the defendant agree that time under
 2   the Speedy Trial Act from the date this stipulation is lodged, through
 3   May 31, 2005, should be excluded in computing the time within which
 4   trial must commence under the Speedy Trial Act, pursuant to Title 18
 5   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 6   DATED:     May 26, 2005.                  Respectfully submitted,
 7                                                   QUIN DENVIR
                                                     Federal Public Defender
 8
 9
     DATED:     May 26, 2005.                        /s/ MARK J. REICHEL for
10                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
11                                                   Attorney for Jesus Vazquez
12
13                                                   /s/ MARK J. REICHEL for
                                                     SHARI RUSK
14                                                   Attorney for Defendant
                                                     Marco Antonio Vargas
15
16
                                                     /s/ MARK J. REICHEL for
17                                                   MICHAEL HANSEN
                                                     Attorney for Defendant
18                                                   Juan David Hernandez
19
20
                                                     McGREGOR SCOTT
21                                                   United States Attorney
22
23   DATED:     May 26, 2005.                        /s/ MARK J. REICHEL for
                                                     WILLIAM WONG
24                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
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     Stip and Order                            2
              Case 2:04-cr-00280-KJM Document 29 Filed 05/26/05 Page 3 of 3


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 2
                                         O R D E R
 3
            That the status conference hearing date of May 31, 2005 shall be
 4
     vacated and a status conference scheduled for June 13, 2005 at 9:30
 5
     a.m.    Time is excluded in the interests of justice pursuant to 18
 6
     U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 7
     IT IS SO ORDERED
 8
     DATED: May 26, 2005                             /s/ Frank C. Damrell Jr.
 9                                                   FRANK C. DAMRELL JR.
                                                     United States District Judge
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     Stip and Order                            3
